\C 00 \l O\'U'l -I>- 03 [\) 1-1

N l\) l\) l\) l\)l\) N [\) [\) b--‘ )-d b-‘ )---l 1-")-1 »-1 )-‘ p_a »-1
oo\]C\LA-LWNF_‘C\QOO\]O\Lll-PWN'_‘O‘

Case 2:18-CV-Ol714-DGC Document 13 Filed 06/26/18 Page 1 oflg,(§)ge 1 Oflo

 

Craig R. Brirtain

`8625 E. Sharon Dr. ¢`LFED _:_M

Scottsdale,~AZ, 85260 ___REOENED ___COFY

(602) 502-5612 ` JuN 2" 6 2018

craig@brittainforsenate.com oLERK U 3, DG'$FTWCT %’RT
sYM_-- EPU'W

 

 

craigrbrittain@gmail.com _

CRAIG R.' BRITTAIN, an individual
and US Senate candidate in Arizona in
the 2018 Federal Elections;

BRITTAIN FOR US SENATE,

a Principal Campaign Committee,
(And on behalf of all similarly affected
users of Twitter).

Plaintiff(s),

VS.

TWITTER, INC., a California

corporation.

Defendant.

 

 

 

IN UNITED STATES DISTRICT COURT
FOR THE DIS'TRICT OF ARIZ()NA

No. CV-18-01714-PHX-DGC

AlV[ENDED COMPLAINT

(l)Violation of the First
Amendment of the US
Constitution

(Z)Violation of F ederal Election
rules (47 U.S. Code '§ 315)

(3)Breaeh of Contract

(4)C0nve_r_si0n

(5) Vlolation of Ant1trust Laws

(6) Negligent lnfliction of

Emotional Injury/Distress

(7) Tortiol`ls Interference

(8) Promissory Estoppel

DEMAND FOR JUR_Y TRIAL

AMENDED COMPLAINT FOR DECLARATORYAND IN_JUNCTIVE
RELIEF, DEMAND FOR JURY TRIAL

Plaintii`f(s), Craig R. Brittain and Brittain for US Senate file this amended
complaint against Defendant Twitter, Inc. and demand a Jury Trial,

 

 

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 2 ol‘},]e.lge2 Oflo

1 for Vlolation of the First Amendment, Violation of 47 U.S. Code § 315,
2 Vlolation of 15 U.S. Code § 2, Breach of Contract, Conversion, Promissory
3 Estoppel, Tortious lnterference, and Would show as follows:
4 1. Twitter shall mean both the service and the company, contextually.
5 Prior to reading this complaint, please read in full: Taylor v. Twitter (CGC-18-
6 564460), Knight First Amendment Center v. Trump et al. (1:17-cV-05205),
7 Porter v. Twitter et al. (3:16-cve06136), along With all amicus curiae briefs
8 related to those cases. PlaintiH`re-alleges the entire contents of those cases. In
9 some of those cases Defendant has stated that its platform is a public forum. It
10 Was proven by KFAC v. Trump that politicians/candidates Who use TWitter's
11 public forum are also creating public forums. As Plaintiff is a federal
12 candidate, it is doubly his right to use Twitter.
13 2. Taylor v. Twitter Was approved for Breach of Contract and
14 Conversion claims by the California Superior Court. The similar claims of this
15 suit should be heard by this Court.
16 3. Defendant's own admission that their service is a public forum is
17 grounds for the First Amendment claim. Plaintiff cites in full this longer
18 explanation by Harvard LaW Professor Noah Feldman:
19 https://WWW.nytimes.com/ZOI 8/06/05/0pinion/f1rst-amendment-trump-
20 twitter.html. Professor Feldman's facts are correct but his conclusion is Wrong.
21 Twitter SHOULD be recognized as a pure free-speech zone, by the
22 Defendant's own admission. TWo-Way Freedom of Speech is the ability to both
23 hear and speak in a public forum. No non-prisoner US resident can be
124 permanently barred from a public forum. TWitter must overturn any form of
25 illegal public forum access prevention, including Hltering, “shadowbanning”,
26 suspension, blocking, or any other method.
27 4. The total number of users directly affected is over 500 million.
28 maintin alleges the less era total er 500,000 fellewere end 2,000 high profile

 

 

 

\DOO\]O\Ul-LU.)[\)l-\

NNN[\)[\)NNNN)-ll-\l-~»-ll-\l-¢l-¢)-‘»-\)-‘
OO\IO\U'l-I>WN'-‘O\OOO\]O\UI-I>WN*"‘O

 

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 3 of 10

Page 3 of 10

followers from his suspended accounts. Defendant's valuation of followers is
$2.50-3.50 each. Plaintiff alleges that such an egregious violation must be
Worth at least 4% of the total Value of Twitter's $25 Billion net worth, or $1
Billion. The loss of 500,000 followers earned over a span of 5 years caused
provable emotional distress via Defendant's negligence by destroying both
financial and personal Value. Votes and donors were lost, constituting
promissory estoppel/tortious interference The suspension of Plaintiffs
accounts was an illegal act of conversion by the Defendant in accordance with
the above monetary values. The fact that Twitter would not exist without
Enancial and official support from President Barack Obama and the US
F ederal Government between 2007-2016 makes the above actions a form of
state action and adds to the depth of the public forum claim. CDA 230 gives
private companies jurisdiction over private venues. However, the only rightful
jurisdiction over a public forum is held by the US Government via the
Constitution. CDA 230 does not apply in this situation because (1), Twitter has
no jurisdiction over public forums, (2) Twitter does not provide the service of
public forums, and (3) Twitter is simply another user of the public forums. In
all 3 cases, the F ederal Government is the provider of public forums and holds
jurisdiction over their use, with which the Defendant has unlawfully interfered.
5. Twitter has business partnerships with CNN, Fox, MSNBC and many
other cable networks. These dealings extend the broadcast licenses of those
networks into Twitter's business space. Therefore Twitter must also provide the
same broadcast access to all candidates for as long as they maintain
partnerships with these licensed cable broadcast networks. Alternatively, they
can break those deals to maintain compliance. Twitter is currently violating 47
U.S.C. § 315 by refusing to grant equal access to users of a broadcast network
partnered/licensed platform. This action interferes with the current US Federal

Elections.

 

 

\O\EDO\IO\U'l-I>L¢>J[\.)l-l

NN\\)NNN[\)NNl-ll-¢ld>-)-ll-ll-l>-ll_al-l
OO\]O\LJ`l-LU~)NF_‘O\OOO\]O\LII-§WN’_‘O

 

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 4 otP%ge 4 OfIO

6. Twitter is one of 3 major players Which control a combined 90% of
the social media network market (Facebook/lnstagram, YouTube/Google and
Twitter/Periscope). The lack of new maj or players in the market is a direct
result of anticompetitive practices used by these three major players to
illegally monopolize the social media networking market segment in violation
of the Shelrnan Act. Twitter does not possess superior products and has
maintained profitability in spite of actions which would otherwise bankrupt a
company, to the point of being able to purchase any new competitor's business
for itself. These anticompetitive actions include deceptively and illegally
limiting users who reference new/competing networks and/or utilize Third
Party API services, and exaggerating their own stock values/prices (Porter v.
Twitter et al.). Twitter must be reorganized.
7. There are an extremely large number of Witnesses and an
overwhelming amount of evidence in this case. As this is the abridged,
amended (“short and plain”) version of this complaint, that information will be
accordingly presented during discovery.
JURISDICTION AND VENUE

8. Federal Court has jurisdiction re: 28 U.S.C. § 1331 (F ederal
Question) and 28 U.S.C. § 1332 (Sum above $75,000, multiple states).

9. Venue is proper in this Court under 28 U.S.C. § l391(b)(2). Almost
all of the events giving rise to this complaint occurred in this District.

PARTIES

10. Plaintii`f Craig R. Brittain is and was at all times during the course of
the events detailed in the complaint, a resident of Scottsdale, Arizona in
Maricopa County. Twitter Accounts: @CraigRBrittain, @AuditTheMedia.

11. Plaintiff Brittain for US Senate is Craig R. Brittain's registered
campaign committee. Twitter Accounts: @SenatorBrittain, @Brittain4Senate.

12. Defendant Twitter, Inc. is a California corporation.

 

 

NNNN[\)NNNN»-‘l-lb-‘r-‘l-‘>-‘l-lr-»l_a)-l
OO\]O\Lh-LUJNF_‘O\OOO\]O\UI-I>UJN’_‘O

\OOO\]C\Ul-l>b~)[\)l-a

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 5 oiP%ge 5 Oflo

FIRST CAUSE OF ACTION
Vlolation of the First Amendment of the US Constitution
(Declaratory and Injunctive Reliet)

13. Plaintiff re-alleges and incorporates by reference each and every
preceding paragraph as though set forth fully herein.
14. Defendant admitted that it was a First Amendment protected public
forum in at least one Court, and that the tweets of elected oliicials and
candidates are also public forums. Defendant has illegally suspended/banned
millions of users, including Plaintiff(s). Plaintiffs accounts were suspended on
Feb. l, 2017, Feb. 2, 2017, Mar. 30, 2018, and May 23, 2018. Defendant must
permanently remove all barriers to accessing its public forums including
suspensions, shadowbans, filters, and/or any other types of public access
prevention.

15. Plainti&` is entitled to damages stemming from the unlawful
destruction of his created public forums (as candidate/campaign committee)

and prevention of access to public forums (as an individual),

SECOND CAUSE OF ACTION
Violation of F ederal Election rules, (47 U.S. Code § 3'15)
(Declaratory and Injunctiv_e Relief)

16. PlaintiH` re-alleges and incorporates by reference each and every
preceding paragraph as though set forth fully herein.

17. Defendant is in a business partnership with licensed
broadcasting/television networks and is obligated to provide equal access to
candidates under 47 U.S. Code § 315. Defendant did not do so and as a result
the 2018 Federal Election has been compromised.`Plaintiff is entitled to

damages stemming from illegal election interference.

 

 

 

\OOO\]O'\U\-b'~))[\)’-‘

[\)NNNN[\)NN[\)»-‘r-‘l-‘)-‘)-¢l-\)-rl-\l_a)_¢
OO-\lO\Ul-l>~W[\)l-*O\OOO\]O'\U\-|>WN’-‘C>

 

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 6 ofP]age 6 oflo

' THJRD cAUsE oF ACTloN
Breach of Contract

(Declaratory and Injunctive Relief)
18. Plaintiff re-alleges and incorporates by reference each and every
preceding paragraph as though set forth fully herein.
19. Taylor V. Twitter ruled that Twitter's Terms of Service are (probably)
unconscionable as grounds for that suit to proceed. Defendant cannot suspend
or terminate accounts at will.
20. Horton v. Horton, 254, Va. 111/115 (1997) states that the party who
commits a material breach of contract flrst is liable. Defendant committed the
first breach(es). The provisions of the contract itself are unconscionable and/or
illusory as Defendant retains the unilateral right to terminate “at any time for
any or no reason”. In re: Zappos.com (3:12-cv-00325) found similar contracts
to be illusory. Any accusations of user liability are null/moot. Defendant is
wholly liable for harm it has incurred against over 500 million users.
Defendant is also wholly liable for specific harm against the Plaintiff, who is

entitled to Signilicant damages.

FOURTH CAUSE OF ACTION
Conversion

(Declaratory and Injunctive Relief)
21. Plaintiff re-alleges and incorporates by reference each and every
preceding paragraph as though set forth fully herein.
22. Twitter accounts have no default value. All value Was created by the
Plaintiff over the course of approximately 5 years. Plaintiff is the legitimate
owner of his Twitter accounts and over 500,000 total followers. Defendant
converted those accounts by surprise. Plaintiff is entitled to significant

damages resulting from that conversion.

 

 

\OOO\`|O`\Ul-l>~b~)[\)l-l

NNNNNNNN[\))-‘)-‘)-‘l-‘l-‘)-‘l-a»-al_il-a
OO\]O\Lh-I>L)JNl-‘O\COO\IO\Lh-I>~L)JN*-‘O

 

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 7 otpgge 7 Oflo

FIFTH CAUSE OF ACTION
Vlolation of Antitrust Laws

(Declarative and Injunctive Relief)

23. Plaintiff re-alleges and incorporates by reference each and every '
preceding paragraph as though set forth fully herein.

24. Defendant Violated 15 U.S. Code § 2 by engaging or attempting to
engage in anticompetitive practices, evident by maintaining market control and
profitability in spite of the lack of a superior product and conditions which

would bankrupt a non-monopoly. Therefore Twitter must be reorganized

SIXTH CAUSE OF ACTION
Negligent Infliction of Emotional Injury/Distress

(Declarative and Injunctive Relief)

25. Plaintili` re-alleges and incorporates by reference each and every
preceding paragraph as though set forth fully herein.
26. The destruction of Plaintiff‘s property (accounts/followers) valued at
well over a million dollars after over 5 years of Work, caused unforeseeable
harm to the PlaintiH` resulting in emotional injury/distress Dillon v. Legg, 68
Cal. 2D 728A (1968) ruled: “the chief element in determining whether
defendant owes a duty or an obligation to plaintiff is the foreseeability of the
risk, that factor will be of prime concern in every case. Because it is inherently
intertwined with foreseeability such duty or obligation must necessarily be
adjudicated only upon a case-by-case basis.”

27. As Plaintiff never breached the contract, but the Defendant did, the
Defendant's actions are unforeseeable and Plaintiff is entitled to signiHcant

damages stemming from harm inflicted by the Defendant.

 

 

NNNNNNNN[\))-‘l-*)-\)-ll-\l_a)-di-l»-a)-l
OO\IO\Ul-LUJN>-‘O\OOO\IO\U!-PWN’-‘C>

\OOO\]O\U`l-I>L)JN’-‘

 

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 8 ofIJ.a%e 8 oflo

SEVENTH CAUSE OF ACTION
Tortious Interference

(Declarative and Injunctive Relief)

28. Plaintiff re-alleges and incorporates by reference each and every
preceding paragraph as though set forth fully herein.

29. Defendant knew that the Plaintiff was a candidate for public office
and that he was conducting both public and private business using the public
forum of Twitter. Defendant unlawfully interfered with.his ability to gain both

business and votes. Plaintiff is entitled to damages as a result.

EIGHTH CAUSE OF ACTION
Promissory Estoppel

(Declarative and lnjunctive Relief)

30. Plaintiff re-alleges and incorporates by reference each and every
preceding paragraph as though set forth in full herein.

31. 501 U.S. 663, Cohen v. Cowles Media Company (No. 90-634)
(1991): “Promissory Estoppel is a law of general applicability”. Defendant
committed Promissory Estoppel by (1) writing an unconscionable contract, (2)
promising to uphold that contract, (3) immediately fundamentally breaching
that contract, and (4) committing a surprise act of conversion and tortious
interference, suspending Plaintil`f‘s accounts while knowing that new
business/votes were being acquired by the PlaintiH`. Plaintiff is entitled to

damages stemming from this estoppel.

 

 

\O 00 \I»O'\ Ul -l> L)J [\) l-¢

l\.)[\)[\)l\)l\)[\)[\)l\)l\)t-*)-l)-al-\r-a)-l»-l)_al_a)-\
OO\]C\LALWN|_‘C\C®\]O\L!ILWN*_‘O

 

Case 2:18-cV-01714-DGC‘ Document 13 Filed 06/26/18 Page 9 ofP10
_ age 9 of 10
PRAYER FOR RELIEF
WHEREFORE,

Plaintiffs respectfully pray for a judgment as follows:

1. For a summary judgment of no less than $1,000,000,001.00 USD,

2. For a public apology nom the Defendant to all of the users it has harmed by
preventing First Amendment access to its self-declared public forums,

3. For compensatory, special, and statutory damages in an amount to be proven
at Jury Trial, including statutory damages.

4. F or pre-judgment and post-judgment interest.

5. For compensatory, special, and statutory damages in an amount to be proven
during Jury Trial, including statutory damages.

6. For all costs stemming from any expenses related to this suit, including the
hiring of attorneys (if applicable), research conducted, time spent, or materials
used, l

7. For an injunction permanently preventing the Defendant from suspending,
shadowbanning, blocking, downranking or otherwise limiting and/or
preventing access to the use of public forums on their website, and to fully
restore all previously suspended and/or limited accounts.

8. For an injunction preventing the Defendant from engaging in
anticompetitive/deceptive practices.

9. For a declaration that the Defendant interfered in the 2018 Federal
Elections, and an injunction preventing Defendant from doing so in the future.
10. F or an injunction preventing the Defendant from committing Promissory
Estoppel, Tortious lnterference, Breach of Contract and Conversion, and
declaration that the existing contract is invalid.

11. For any additional relief that the Court deems just and proper.

 

 

Case 2:18-cV-01714-DGC Document 13 Filed 06/26/18 Page 10 oi)élge 10 Of 10

\OOO\IO\Ul-PL)~)N)-‘

[\)l\)l\-)l\)l\)[\)[\)[\)l\)r-*)-*P-‘)-*l--ll-¢)-‘»-al_al-l
OO\]O\Lh-LWN*_‘O\DOO\]O\Lh-BWN*_*O

 

Respectfully submitted,
Craig R. Brittain and Brittain for US Senate “Plaintiff(s)”.

Plaintiff(s) sign under Rule 11 of Title III, to defend Freedom of Speech.

DATED; lime 26, 2018 WZ,’K

Craig R. Brittain

8625 E. Sharon Dr. '
Scottsdale, AZ, 85260

(602) 502-5612
craig@brittainforsenate.com

craigrbrittain@gmail.com

 

 

